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Exhibit A
OCT-07-2010

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416 326 4656 P.001

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pe “Ontario

10:34 CROWN LAW OFFICE
try of The Attorney Ministere du Procureur general

General

brown Law Office Criminal Bureau des avocats

| : | dela Couronne droit criminal
40% Floor 10* etage
720 Bay Street 720 rue Bay
Toronto ON M7A 289 Toronto ON M7A 259

|
Farc (416) 326-4656 Telec: (416) 326-4656
Ie); (416) 326-4600 Yel: (416) 326-4600

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Facsimile Transmittal

¥ David Porter Fax: (416) 868 - 0673
from Amanda Rubaszek Date: October 7, 2010

Re: Nortel Networks Inc. et al. Pages: 3 pgs.

| (including cover page)
Sent By AH Telephone: (416) 326-2301
Operator:

Comments:

whoa see the attached letter.

PRIORITY: Urgent Standard

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| please immediately notify us by telephone to arrange for
| the return or destruction of this document.

Case 09-10138-MFW Doc 4118-3 Filed 10/07/10 Page 3of 4

OCT-07-2010 10:35 CROWN LAW OFFICE 416 326 4656 P.002
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\(418) 326-4600 Tal; (416) 326-4600 Direct Line: (416) 326-4585
Fhot (416) 326-4656 Fax: (416) 326-4656 Email: Amanda.Rubaszek@ontarlo.ca

October 7, 2010

CLEARY GOTTLIEB STEEN & HAMILTON LLP
Deborah M. Buell

James L. Bromley

One Liberty Plaza

New York, New York 10006

Sent By Facsimile: (212) 225-3999

|

MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Alissa T. Gazze

1201 North Market Street

P.O. Box 1347
Wilmington, Delaware 19801

| Sent By Facsimile: (302) 658-3989

| Dear Counsel:

Re: Nortel Networks Inc., et al, Debtors
| Motion for an Order re: Destruction of Documents - Case No. 09-10138 (KG)

|

As you may know, criminal proceedings were initiated in Canada against former Nortel
executives Frank Dunn, Douglas Beatty and Michael Gollogly in the summer of 2008.
Although a trial date has not yet been set, it is anticipated that proceedings will
commence in the fall of 2011, I am one of the three Crown counsel prosecuting the case.

On October 6, 2010 in the late afternoon, we received electronic copies of the Debtors
Motion for an order approving a document disposal procedure being heard on October
14, 2010 in the United States Bankruptcy Court for the District of Deleware. The Notice
stated that Objections were to be received no later than October 7, 2010 at 4 p.m. eastern

time.
These electronic copies came to our attention indirectly through a third party. In the

future, it would be of assistance if we could be notified directly. Indeed, it is our desire
to be kept apprised of any notices and/or orders relating to the destruction of documents

that may be forthcoming.
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OCT-07-2010 10:35 CROWN LAW OFFICE 416 326 4656 P.003

Upon receipt of these documents, the material was forwarded to counsel for Frank Dunn,
‘Douglas Beatty and Michael Go

tlogly, each of whom are defendants in Canadian
| off inal proceedings for fraud and related illegalities.

interests, we wish
| to alert you to the fact that they are an interested party. We urge you to correspond with

! we will advise counsel for Mr. Dunn, Mr. Beatty, and Mr. Gollogly to raise their
ly. They have been copied on this letter and their particulars

Please feel free to contact me should you have any questions or concems.

|
Yours truly,

/fbark-—

‘Amanda Rubaszek
, Crown Counsel

i ce,
i | Mr. David Porter (Counsel for Frank Dunn)
McCarthy Tetrault LLP

Box 48, Suite 5300

| Toronto Dominion Bank Tower

| | Toronto, ON MSK 1E6

(Sent by Fax: (416) 868-06 73)

| Mr. Greg Lafontaine (Counsel for Douglas Beatty)
i : Lafontaine & Associates

I 127 John Street

Toronto, ON MSV 2E2

| (Sent by Fax No. (416)-204-1 849)

} | Ms. Sharon Lavine (Counsel for Michael Gollogly)
t 4 Mr. Robin McKechney

: Greenspan Humphrey Lavine

| 15 Bedford Rd.

Toronto, ON M5R 237

| (Sent by Fax No. (416) - 868-1990)

TOTAT. P.O08
